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Case 2'04-cv-02752-.]DB-dkv Document 11 Fl|ed 05/05/05 Page 10f5 Page|D

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FoR THE WESTERN DIsTRICT oF TENNESSEE aj ;:-;; ~ -”~_; ic-.- g 1,
WEsTERN DIVISION

 
   

GORDON NEWSOME, GAVIN
NEWSOME, CHARISSA NEWSOME,
and DESTINY NEWSOME, Minors by
HAZEL D. THOMPSON, Guardian
and Next Friend.

Plaintiffs,
v. NO. 04-2752 B V

PRIMERICA LIFE lNSURANCE CO.
and STEVE A. STOKES,

Defendants.

COME NOW the Defendants, Primerica Life Insurance Co. and Steve A. Stokes, and
submit this proposed case management order. Counsel for the Plaintiff, Max Ostrow, has filed a
Motion to Withdraw, and the Plaintiff has not identified new counsel As a result, the Defendants
have been unable to consult With opposing counsel as contemplated by the Rules, leading
undersigned counsel to submit the this proposed order With the following suggested deadlines:

lNlTlAL DISCLOSURES PURSUANT TO FED.R.CIV.P 26(a)(l): May 16, 2005.

JOINING PARTIES: May 31, 2005.

AMENDING PLEADINGS: l\/lay 31, 2005.

INITIAL MOTIONS T() DISMISS: June 15, 2005.

COMPLETING ALL DISCOVERY: August 3 l, 2005 .

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(a) DoCUMEN'r PRoDucrIoN: Augusrsi, 2005.

(b) DEPOSITIONS, lNTERROGATORIES AND REQUESTS FOR
ADMISSIONS: August 31, 2005.

(c) EXPERT WITNEss DisCLosURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: June 15, 2005.

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
lNFORMATION: July 29, 2005.

(3) EXPERT WlTNESS DEPOSITIONS: August 3l, 2005.
FILING DISPOSITIVE MOTIONS: October 15, 2005.

OTHER RELEVANT MATTERS

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

This case is set for jury trial, and the trial is expected to last two (2) days. The pretrial
order date, pretrial conference date, and trial date Will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court~annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may tile a response to any motion filed in this matter. Neither party
may tile an additional reply, however, Without leave of the court. If a party believes that a reply is
necessary, it shall tile a motion for leave to tile a reply accompanied by a memorandum Setting
i`orth the reasons for Which a reply is required

The parties have not consented to trial before the magistrate judge.

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A`|TORNE¥S AT LAW

 

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www.wbblawfirm.com

May 3, 2005

VIA HAND-DELIVERY
Honorable Diane K. Vescovo
United States Magistrate Judge

242 Cliff`ord Davis F ederal Building
167 North Main Street

Memphis, TN 38103

RE: Newsome v. Primerica Lg”e frisurance Cr)mpany
U.S. District Court Case No. 04-2752 BV

Dear Judge Vescovo:

This letter concerns the Scheduling Conference set in this case for Thursday, May 5, 2005. You
may recall that Plaintiff's counsel, Max Ostrow, identified a conflict of interest that will require
him to withdraw from further participation in the case, causing the Scheduling Conference to be
continued a number of times.

Mr. Ostrow had hoped to assist in arranging for substitute counsel; however, those efforts Were

not successful, and Mr. Ostrow filed a Motion to Withdraw yesterday lt is my understanding
that the Plaintiff will personally appear at the Scheduling Conference.

Thank you for your consideration of this matter, and l look forward to seeing you on Thursday.
Sincerely,
WISEMAN BIGGS BRAY PLLC

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Lang Wiseman

Enclosure

cc: Max Ostrow, Esq. (via facsimile 682-2697 and U.S. Mail)
Robert Di Trolio, U.S. District Court Clerk (via hand-delivery)

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:04-CV-02752 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

MaX L. Ostrow

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Rm. 224

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Thomas Lang Wiseman
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Honorable .1. Breen
US DISTRICT COURT

